
PER CURIAM.
We deny without prejudice the defendant, Hulon B. Gunter’s, petition for writ of mandamus wherein he seeks to compel the trial court to rule on his motion to correct an illegal sentence filed on or about November, 2006. The State of Florida has responded that it is unable to locate a copy of the motion. Additionally, the clerk of the circuit court has also advised that it has been unable to locate the motion in question. We, therefore, deny the petition without prejudice for Gunter to re-file his motion in order that the trial court may timely rule on it. If Gunter re-files his motion, we direct him to serve a copy of the motion with the Office of the Attorney General.
Petition for writ of mandamus denied without prejudice.
